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                 DISTRICT COURT OF THE VIRGIN ISLANDS
                  DIVISION OF ST. THOMAS AND ST. JOHN

                                    )
UNITED STATES OF AMERICA, and THE )
PEOPLE OF THE VIRGIN ISLANDS,       )
                                    )
               Plaintiff,           )            Criminal No. 2009-20
                                    )
               v.                   )
                                    )
GELEAN MARK, a/k/a “KERWIN”, and    )
JEROME BLYDEN,                      )
                                    )
               Defendants.          )
___________________________________ )


ATTORNEYS:

Kim R. Lindquist, AUSA
Nolan D. Paige, AUSA
St. Thomas, U.S.V.I.
     For the plaintiffs.

Mark D. Hodge, Esq.
St. Thomas, U.S.V.I.
     For the defendant Gelean Mark.

Treston E. Moore, Esq.
St. Thomas, U.S.V.I.
     For the defendant Jerome Blyden.


                            MEMORANDUM OPINION


      This opinion memorializes the Court’s October 7, 2010 ruling

on the motions by the defendants Gelean Mark (“Mark”) and Jerome

Blyden (“Blyden”) for judgments of acquittal and a new trial1 in

this matter.

     1
        A separate opinion will memorialize the Court’s ruling on the
defendants’ motion for a new trial based on the government’s failure to
disclose claimed Jencks and Brady/Giglio materials.
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            I. FACTUAL AND PROCEDURAL BACKGROUND

      On May 19, 2009, a grand jury handed down an indictment in

the instant case against Mark and Blyden.            On October 1, 2009, a

grand jury handed down a superseding indictment.               Count One

charged Mark and Blyden, with participating in or operating a

racketeering enterprise involving narcotic sales, illegal

gambling, and violent acts including attempted murder, in

violation of 18 U.S.C. § 1961 et seq.            Count Two charged Mark and

Blyden with the attempted murder of Trevor Nicholas Friday Jr.

(“Friday”) in aid of racketeering, in violation of 18 U.S.C. §

1959.    Count Three charged Mark and Blyden with the assault with

a dangerous weapon of Friday in aid of racketeering activity, in

violation of 18 U.S.C. § 1959.        Count Four charged Blyden with

the assault with a dangerous weapon of Damien Daniels in aid of

racketeering, in violation of 18 U.S.C. § 1959.              Count Five

charged Mark and Blyden with using a firearm in furtherance of a

drug trafficking crime, in violation of 18 U.S.C. § 924.                 Counts

Six and Seven charged Blyden with money laundering, in violation

of 18 U.S.C. § 1956,      and bank fraud, in violation of 18 U.S.C. §

1344.2

      A trial in this matter was held from May 3, 2010 to May 8,


     2
        On the morning of trial, the government moved for dismissal of Counts
Six and Seven. The Court granted that motion.
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2010.      The government presented taped phone conversations between

Mark and another member of the drug conspiracy, Vernon Fagan,

about drug trafficking and dogfighting activity, and

conversations between other drug dealers which discussed Mark’s

distribution network in the Virgin Islands.             Three of the

government’s witnesses,         Glenson Isaac (“Isaac”), James

Springette (“Springette”), Elton Turnbull (“Turnbull”), testified

that they were engaged in drug trafficking activity with Mark.

      Friday, who had distributed drugs in Smith Bay at the time

the Mark-Blyden enterprise was distributing cocaine and cociane

base on St. Thomas, also offered testimony.             He testified that

both of the defendants shot at him, and he was subsequently taken

to the hospital for gunshot wounds.

      At   the close of the government’s case, Blyden moved for a

judgment of acquittal on Count Four pursuant to Federal Rule of

Criminal Procedure 29.         Finding the evidence insufficient to

support a conviction of Blyden on that Count, the Court granted

Blyden’s Rule 29 motion with respect to Count Four.

      Mark called Marjorie L. Williamson, office manager and

veterinary technician for the Animal Hospital in St. Thomas.                  She

testified briefly that she possessed records for about 40 animals

belonging to Mark that had received treatment at the Animal

Hospital.
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       Blyden took the stand and testified in his own defense.               He

testified that on the date of the shooting of Friday he was

taking care of his daughter who was ill.          He stated that he drove

to get medicine and then stopped at the Hi Ho grocery store.

While there he testified that a man with a mask on his face began

shooting.    He stated that he heard shots fired and took cover by

a phone booth.     When the sounds of firing ceased, he testified he

returned to his car and drove off.

      Blyden further testified that he had no involvement in

dogfighting.    Additionally, he stated that he was not involved

in, nor had any awareness of, the importation and distribution of

drugs by Mark prior to the filing of charges in this case.

      On May 7, 2010, the jury sent the Court a note that they had

reached a unanimous verdict. The foreperson then read the jury’s

verdict in court.     Following a request by Blyden for a poll of

the jury, one juror when asked if the verdict was his unanimous

verdict, responded “Yes and no.” (Trial Tr. at 251, May 7, 2010.)

Finding that the juror’s response indicated a lack of unanimity,

the Court then gave the jury an instruction about returning to

deliberation after polling.

      Following further deliberation, the jury returned a verdict

on May 8, 2010.     It found Mark guilty on Counts One and Three and

not guilty on Counts Two and Five.        It found Blyden guilty on
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Count Three and not guilty on Counts One, Two, and Five.

                               II. DISCUSSION

A. Rule 29

      A judgment of acquittal is appropriate under Rule 29 if,

after reviewing the record in a light most favorable to the

prosecution, the Court determines that no rational jury could

find proof of guilt beyond a reasonable doubt. United States v.

Bobb, 471 F.3d 491, 494 (3d Cir. 2006); see also United States v.

Smith, 294 F.3d 473, 476 (3d Cir. 2002) (district court must

“‘review the record in the light most favorable to the

prosecution to determine whether any rational trier of fact could

have found proof of guilt beyond a reasonable doubt based on the

available evidence.’”)(quoting United States v. Wolfe, 245 F.3d

257, 262 (3d Cir. 2001)).

      An insufficiency finding should be “‘confined to cases where

the prosecution’s failure is clear.’” Smith, 294 F.3d at 477

(quoting United States v. Leon, 739 F.2d 885, 891 (3d Cir.

1984)). “Courts must be ever vigilant in the context of [Rule] 29

not to usurp the role of the jury by weighing credibility and

assigning weight to the evidence, or by substituting its judgment

for that of the jury.” United States v. Brodie, 403 F.3d 123, 133

(3d Cir. 2005) (citations omitted); see also United States v.

Ashfield, 735 F.2d 101, 106 (3d Cir. 1984) (“Our task is not to
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decide what we would conclude had we been the finders of fact;

instead, we are limited to determining whether the conclusion

chosen by the factfinders was permissible.”).

      Further, the government may sustain its burden entirely

through circumstantial evidence. Bobb, 471 F.3d at 494; see also

United States v. Wexler, 838 F.2d 88, 90 (3d Cir. 1988).

B. Rule 33

      When deciding a Rule 33 motion for a new trial, the Court is

provided somewhat more discretion than what is afforded under

Rule 29.    Under Rule 33, the Court may grant a new trial “in the

interest of justice.” United States v. Charles, 949 F. Supp. 365,

368, 35 V.I. 306 (D.V.I. 1996).        In assessing such “interest”,

the court may weigh the evidence and credibility of witnesses.

United States v. Bevans, 728 F. Supp. 340, 343 (E.D. Pa. 1990),

aff'd, 914 F.2d 244 (3d Cir. 1990).        If the Court determines that

there has been a miscarriage of justice, the court may order a

new trial. Id.     “The burden is on the defendant to show that a

new trial ought to be granted. Any error of sufficient magnitude

to require reversal on appeal is an adequate ground for granting

a new trial.” United States v. Clovis, Crim. No. 94-11, 1996 U.S.

Dist. LEXIS 20808, at *5 (D.V.I. Feb. 12, 1996).
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                               III. ANALYSIS

A. Rule 29

      1. Mark’s Rule 29 Motion

      In his Rule 29 motion, Mark asserts both technical

challenges as well as challenges to the sufficiency of the

evidence.    The Court will first dispose of his technical

challenges, and then turn to the more traditional Rule 29 issues

related to sufficiency of the evidence.

      a. Technical challenges

            i. Verdict Form

      Mark challenges his conviction on Count One because of the

presentation of racketeering acts three and four in the verdict

form.

        The Indictment charged that:

        a. Beginning from a time unknown, but no later than
        1999, and continuing until October 2005, in the
        District of the Virgin Islands and elsewhere, GELEAN
        MARK did knowingly and intentionally, combine,
        conspire, confederate, and agree together with others
        known and unknown to the grand jury, to violate Title
        21, United States Code sections 952(a) and
        960(b)(1)(B)(ii), that is, to import narcotics into
        the United States from a place outside thereof,
        namely, five (5) kilograms or more of a mixture or
        substance containing detectable amounts of cocaine, a
        Schedule II controlled substance in violation of Title
        21, United States Code, Section 963.


        b. Beginning from a time unknown, but no later than
        1999, and continuing until October 2005, in the
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      District of the Virgin Islands and elsewhere GELEAN
      MARK did knowingly and intentionally, combine,
      conspire, confederate, and agree together with others
      known and unknown to the grand jury, to violate Title
      21, United States Code, Sections 841(a)(1) and
      841(b)(1)(A)(ii), that is, to knowingly and
      intentionally possess with intent to distribute
      narcotics, namely five (5) kilograms or more of a
      mixture or substance containing detectable amounts of
      cocaine, a Schedule II controlled substance, in
      violation of Title 21, United States Code, Section
      846.

 (Mark & Blyden Superseding Indictment.)            However, the verdict

 form incorrectly listed racketeering act four as a conspiracy

 to import cocaine and cocaine base when the act should have

 been properly listed as a conspiracy to possess with intent to

 distribute cocaine and cocaine base.            Mark’s challenge fails

 for several reasons.

       In Government of the Virgin Islands v. Bedford, 671 F.2d

 758, 762 (3d Cir. 1982), the Court of Appeals for the Third

 Circuit addressed an error in the verdict form.              There, the

 verdict form listed as the charged count, possession of a

 dangerous weapon, instead of unauthorized possession of a

 firearm during a crime of violence.         The Third Circuit rejected

 the defendant’s contention that he was convicted of an offense

 for which he was not charged.        The Third Circuit deemed the

 “error in the verdict form . . . merely clerical,” and found,

 based on the record, that the error was harmless.

       Given that act four as listed on the verdict form
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 overlapped with the offense listed in act three, the Court

 found it appropriate to strike racketeering act four.               That

 action in no way affected the jury’s conviction of Mark on the

 underlying RICO offense.        Indeed, the jury found that the

 pattern of racketeering activity included racketeering acts

 three3 and six4.

              ii. Legal Viability of Racketeering Act Six-
              Violation of 19 V.I.C. § 2613a(a)(1)

         Mark resurrects his argument advanced at trial that V.I.

 CODE ANN . tit. 19 § 2613a(a)(1)(“section 2613") does not

 constitute a “racketeering activity” as contemplated by Title

 18, United States Code, Section 1961(1) (“Section 1961(1)”).

 Section 1961(1) defines a racketeering activity as “any act or

 threat involving murder kidnapping, gambling . . . which is

 chargeable under State law and punishable by imprisonment for

 more than one year.”       18 U.S.C. § 1961(1).        Section 2163

 provides in pertinent part that “[w]hoever willfully, or for

 any bet, stake, or reward, instigates or encourages any dog to

 attack, bite, wound, or bait another dog, except in the course

 of protection of life or property . . . shall be guilty of a



     3
       Racketeering act three was the conspiracy beginning no later than
November 2004 and continuing until October 2005 to import cocaine.
     4
       Racketeering act six was for bet encouraging dogs to attack, bite and
wound other dogs.
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 felony punishable by imprisonment for not more than two (2)

 years and fined not less than two thousand dollars ($2,000) nor

 more than four thousand dollars ($4,000.)” 19 V.I.C. §

 2613a(a).

         The Indictment charges that Mark and Blyden “for bet,

 encouraged dogs to attack, bite, and wound other dogs, in

 circumstances not in the course of protection of life or

 property . . . .” (Superseding Indictment.)             That language

 tracks the language of Section 2613.            Mark argues that the

 statute criminalizes “willfully, or for any bet, stake or

 reward” encouraging a dog to fight another dog.               Mark asserts

 that the statute targets willful conduct and that “the

 inclusion of a phrase such as ‘bet, stake, or reward’ as part

 of completely superfluous language in a State or Territorial

 statute cannot” elevate an act to a “racketeering act.” (Def.’s

 Mot. for J. of Acquit. 5.)

       The reading Mark urges runs contrary to the Court’s “task

 . . . to give effect to all parts of the [statute], without

 trampling on the plain meaning of the words.” Sekula v. FDIC,

 39 F.3d 448, 454 (3d Cir. 1994); see also DIRECTV, Inc. v.

 Pepe, 431 F.3d 162, 168 (3d Cir. 2005)(“[W]e must, whenever

 possible, read the statute in such a manner as to give effect

 to every part of it.” ).       The Court thus must give effect to
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 Section 2613's prohibition on gambling.           In so doing, a

 violation of that section constitutes a racketeering act under

 section 1961(1).

              iii. Specialty of Act Six

         Mark further asserts that racketeering act six should be

 dismissed because the jury instructions and verdict form did

 not specify the date and location where such dogfighting for

 bet occurred5.

         The Indictment charged that “[f]rom 1999, through October

 2005, both dates being approximate and inclusive, in the

 District Court of the Virgin Islands GELEAN MARK and JEROME

 BLYDEN, for bet, encouraged dogs to attack, bite, and wound

 other dogs . . . .” (Superseding Indictment.)             The jury was

 provided with a copy of the Indictment with the relevant dates.

 Moreover, the instructions for Count One reference the

 government’s burden in connection with the “crime as charged in

 Count One of the Indictment.” (Jury Charge at 14.)                Juries are

 presumed to follow instructions given by the Court. United



     5
       Mark also challenges the jury instructions and verdict form’s
characterization of the dogfighting for bet offense using the plural dogs. He
notes that in the statute, the offense is phrased as involving a singular dog.
Mark is correct that the statute punishes anyone who “willfully, or for any
bet, stake, or reward, instigates or encourages any dog to attack, bite, wound
or bait another dog.” 19 V.I.C. 2613a(a)(1). Given that encouraging more than
one dog to attack bite or wound another dog, necessarily involves the
commission of such offense with one dog, the Court finds no possible prejudice
with the references to the offense using the plural “dogs.”
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 States v. Hakim, 344 F.3d 324, 326 (3d Cir. 2003).                The Court

 found no error with a failure to include the alleged dates in

 its instructions or verdict form.

       b. Sufficiency of the Evidence

              i. Count One

                   a) Relatedness

       Mark further argues that the dogfighting act should be

 dismissed because there was no shared or analogous purpose

 between the dogfighting act and the other charged acts.                The

 relatedness prong “focuses on the inter-relationship of charged

 RICO predicates.” United States v. Eufrasio, 935 F.2d 553, 564,

 (3d Cir. 1991).     In Sedima, S.P.R.L. v. Imrex Co., Inc., 473

 U.S. 479, 496 n. 14 (1985), the Supreme Court noted that RICO

 does not contemplate “two isolated acts of racketeering

 activity.”    The Court quoted Senate Report language noting that

 “‘continuity plus relationship . . . combines to produce a

 pattern.’” Id.     (quoting S. Rep. No. 91-617, p. 158 (1969)).

 The High Court has since held that “RICO’s legislative history

 reveals Congress’ intent that to prove a pattern of

 racketeering activity a plaintiff or prosecutor must show that

 the racketeering predicates are related, and that they amount

 to or pose a threat to continued criminal activity.” H.J. Inc.

 v. Nw. Bell Tel. Co., 492 U.S. 229, 239 (3d Cir. 1989).
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       RICO acts satisfy the relatedness requirement of the RICO

 statute if they possess “the same or similar purposes, results,

 participants, victims, or methods of commission or otherwise

 are interrelated by distinguishing characteristics and not

 isolated events.” Id. at 240.        The Court of Appeals for the

 Third Circuit has counseled that a “very flexible” approach to

 the relatedness requirement is appropriate:

       [We] should avoid interpreting the relatedness
       requirement too narrowly . . . . In organized crime
       cases, where the RICO enterprise exists solely for
       criminal purposes, the necessary nexus between the
       predicate acts and the enterprise will often be enough
       to satisfy the relatedness requirements.

 Banks v. Wolk, 918 F.2d 418 (3d Cir. 1990).

        Indeed, notwithstanding, facial differences in predicate

 acts, courts have found relatedness where predicate acts were

 undertaken as part of the racketeering activity’s way of doing

 business. See, e.g., United States v. Eufrasio, 935 F.3d 553,

 565 (3d Cir. 1991)(“Following H.J. Inc. and our own cases, we

 hold that when a proven organized crime entity . . . is the

 relevant criminal enterprise in a RICO case, the relationship

 prong of RICO’s pattern requirement is satisfied by

 functionally unrelated predicate acts and offenses, if the

 predicates are undertaken in association with, or in

 furtherance of criminal purposes of the same organized criminal
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 enterprise.”); United States v. Pungitore, 910 F.2d 1084, 1103

 (3d Cir. 1990)(finding a pattern in seemingly unrelated acts,

 “as they were committed pursuant to the orders of key members

 of the enterprise in furtherance of its affairs”); see also

 United States v. Basciano, 599 F.3d 184, 202 (3d Cir. 2010)(“At

 the highest level of generality, relatedness and continuity can

 be established simply by connecting diverse predicate acts to

 an enterprise ‘whose business is racketeering activity,’ such

 as an organized crime family.”)

       Mark highlights the linkages between the acts charging

 drug conspiracy and attempted murder in terms of methods used

 and victims.     He contrasts that with the dogfighting predicate

 act, asserting that “there was no evidence that the alleged dog

 fighting was conducted for the same or similar purposes as the

 alleged drug conspiracies or attempted murder or that it had

 the same or similar results, victims, or methods of

 commission.” (Mark’s Mot. for J. of Acquit. 10.)

       However, the testimony of Glenson Isaac links the drug

 trafficking and dogfighting for bet activities.              On cross-

 examination, Isaac was questioned about the relationship

 between dogfighting and drug activities:

       Q: Mr. Isaac, you regard pit bull fighting as a sport,
       don’t you?
       A: Yes.
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       Q: And it’s more of a hobby, correct?
       A: Yes.
       Q: And you’ve been engaged in it for many years?
       A: Yes.
       Q: And it had nothing to do with the drug part of your
       life, did it?
       A: Yes.
       Q: Well, in what way –- is it because you just had some
       money?
       A: For betting that kind of –-
       Q: I’m sorry?
       A: Okay. Repeat your question.
       Q: You had your dogfighting and breeding and raising
       hobby, correct.
       A: Uhm-hmm.
       Q: Then you had your drug stuff; is that correct?
       A: Yes.
       Q: All right.


 (Trial Tr. at 201-02, May 5, 2010.)

       The government probed further with regard to the

 enterprise’s drug transactions and dogfighting on redirect:

       Q: Attorney Moore asked you whether drugs are related to
       dogs, and I think you said yes. How is that?

       MR. HODGE: Objection.       Mischaracterizes the testimony.

       THE COURT: Overruled.

       A: To bet that large quantity of money at dogfights.

 (Id. at 204-05.)      Isaac’s testimony thus evinces a link between

 the enterprises drug trafficking profits and its dogfighting

 bets.

         The Court further notes that the Mark-Blyden enterprise

 was similar to an organized crime RICO enterprise, whereby its

 prevailing purpose was to engage in racketeering activity.                 On
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 this basis, its activities done in furtherance of the

 enterprise could satisfy the enterprise requirement. See, e.g.,

 Pungitore, 910 F.2d at 1104.        The Court concluded that the

 dogfighting and drug trafficking acts were sufficiently related

 to satisfy RICO’s relatedness requirement.

                   b) Continuity

       In a RICO case, the government is further required to

 prove that the racketeering acts “amount to or pose a threat of

 continued criminal activity.” H.J. Inc., 492 U.S. at 239.

 “Predicate acts extending over a few weeks or months and

 threatening no future criminal conduct do not satisfy [RICO’s]

 continuity requirement . . . .” Id. at 242.

       “‘Continuity’ is both a closed-and open-ended concept,

 referring either to a closed period of repeated conduct, or to

 past conduct that by its nature projects into the future with a

 threat of repetition.” H.J. Inc., 492 U.S. at 241.

       For closed-ended continuity, a RICO plaintiff must
       allege a series of related predicates lasting a
       substantial period of time. For open-ended continuity,
       the plaintiff must allege a threat of continuity that
       exists when the predicate acts are a part of the
       defendant’s regular way of doing business.


 Bonavitacola Elec. Contractor, Inc. v. Boro Developers, Inc.,

 87 Fed. Appx. 227,232-33 (3d Cir. 2003)(internal citations and

 quotations omitted).      The Court of Appeals for the Third
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 Circuit has noted that “[w]hile declining to define with

 precision the meaning of a ‘substantial period of time,’ we

 have never found such a period to exist where the racketeering

 activity occurred over a period of one year or less.” United

 States v. Pelullo, 964 F.2d 193, 209 (3d Cir. 1992).

       Mark contends that the only predicate acts for which he

 was found guilty were a conspiracy to import cocaine -

 beginning no later than November 2004 and continuing until

 October 2005- and dogfighting, which he again argues was not

 linked to a discrete time period.         Mark thus suggests that the

 operative time frame for the alleged enterprise “lasted for

 months rather than for a year: from November 2004 through

 October 2005.” (Mark’s Mot. for J. of Acquit. 12.) Mark

 misstates the time frame, as the dogfighting predicate act was

 charged to have begun in 1999 and continued to 2005.

       Moreover, even assuming arguendo, that the lifespan of the

 enterprise was a mere few months, the continuity requirement

 could be satisfied based on the threat of ongoing criminal

 activity presented by the Mark-Blyden enterprise.                 In light of

 the enterprise’s success in drug trafficking and dogfighting,

 crime could be fairly said to be the enterprise’s “regular way

 of doing business.” H.J. Inc., 492 U.S. at 243.
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              ii. Count Three

       Mark asserts that the offense charged in Count Three - the

 assault of Friday - was not done in furtherance of the

 conspiracy.     Specifically, he states that the assault was

 committed on May 24, 2004 and that “the conspiracy to possess

 with intent to distribute cocaine, post-dated that alleged

 assault by six months.” (Mark’s Mot. for J. of Acquit. 15.)

       Mark’s argument that the assault necessarily preceded the

 conspiracy to possess with intent to distribute cocaine is

 misplaced.    The conspiracy was one “beginning from a time

 unknown, but no later than November 2004 . . . .”(Superseding

 Indictment.)

       Additionally, the testimony of the victim provided

 evidence of a link between the enterprises drug distribution

 efforts and the assault.       Friday offered testimony that Mark

 directed him to an individual, named Culture who sold Friday

 cocaine:

               A: He, he called Gelean, and then he gave me a
               quarter key.
               Q: What do you mean “a quarter key”
               A: Of cocaine.
               Q: A quarter of a kilo of cocaine; is that
               correct?
               A: Yes. Sir.
               Q: In what form was it?
               A: In powder form.
               Q: When you got that quarter of a key of
               cocaine, what did you do to it?
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               A: I cook it up, and went in Smith Bay and
               started to hustle.
               Q: What do you mean you when you say hustling?
               A: Selling drugs, selling it.

 (Trial Tr. at 20-21, May 4, 2010.)

       Friday further testified that Blyden had suggested some

 collaboration in drug distribution:

             Q: What if anything, did Mr. Blyden say to you at
             that meeting?
             A: He say he heard that, he heard from a guy that
             I is a good dude to work for, I hustle in Smith
             Bay and stuff like that. He would like to mess
             with you.
             Q: “He would like to mess with you”?
             A: Yeah. He would like to work with me.
             Q: What was your understanding of “work with you
             mean”?
                                . . . .

             A: He say he does get them things, too. So it’s
             only, one thing he could be talking about, and
             that’s cocaine.
                                . . . .

             Q: . . . [D]id you work with him?
             A: No.
             Q: Why didn’t you work with him?
             A: Because I didn’t need nothing from them. I
             ain’t really wanted nothing from him. I ain’t
             wanted nothing to do with him.


 (Trial Tr. at 24-25, May 4, 2010.)

       Friday acknowledged that he sold drugs in the Smith Bay

 area.   The government presented evidence that the Mark-Blyden

 enterprise also distributed drugs in the Smith Bay area.

 Friday’s presence on the enterprise’s “turf,” and his rejection
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 of Blyden’s offer to join forces, supports the government’s

 theory that the assault of Friday was motivated by a desire to

 eliminate competition in the Smith Bay area.             A reasonable juror

 could thus find that Blyden committed the assault, at least in

 part, to increase his standing in the Mark-Blyden enterprise.

       2. Blyden’s Rule 29 Motion

       a. Count Three

             i. The Inception of the Mark-Blyden Enterprise

       Blyden argues that there was insufficient evidence to

 convict him of the offense charged in Count Three.                He argues

 that, in light of the jury’s finding of predicate acts of the

 conspiracy to import cocaine and for bet encouraging dogs to

 attack, bite, and wound other dogs, the Mark-Blyden enterprise

 did not have sufficient predicate acts to exist until some six

 months after the May 24, 2004 assault of Friday.              However, the

 government charged a conspiracy “beginning from a time unknown,

 but no later than November 2004.” (Superseding Indictment.)                   As

 such, the conspiracy charged could have preceded the assault.

 Moreover, testimony from Friday that he had a conversation with

 Mark about drug operations in Smith Bay, prior to the assault,

 supports a finding that the conspiracy to import cocaine was in

 existence prior to May 24, 2004.
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       ii. Benefit to Blyden

       Blyden further argues that the “Government failed to prove

 that the Defendant received anything from the enterprise in

 committing the assault . . . .“(Def. Blyden’s Post-Trial Mot.

 for J. of Acquit. 7.)         18 U.S.C. § 1959 criminalizes committing

 a violent crime “as consideration for the receipt of, or as

 consideration for a promise or agreement to pay anything of

 pecuniary value from an enterprise engaged in racketeering

 activity, or for the purpose of gaining entrance to or

 maintaining or increasing position in an enterprise . . . .” 18

 U.S.C. § 1959(a).      The government proceeded under the second

 prong of the statute -- that Blyden committed the assault on

 Nicholas in his capacity as “the enforcer” of the enterprise.

 As such, the failure to demonstrate a discrete pecuniary benefit

 to Blyden from the commission of the assault does not prevent

 his culpability as to Count Three.

 B. Rule 33

       1. Mark’s Rule 33 Motion

              a.   Lack of Specificity of the Structure of the
              Enterprise in Instruction

       Mark objects to the absence of a specific instruction about

 the organizational structure of the Mark-Blyden enterprise.                  He

 notes that the Indictment charged that Mark was the “leader of
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 the enterprise who directed the other members and associates of

 the enterprise in carrying out unlawful [sic] and other

 activities in furtherance of the conduct of the enterprise’s

 affairs.” (Superseding Indictment.)         RICO requires that the

 government show : “‘that the enterprise is an ongoing

 organization with some sort of framework for making or carrying

 out its decisions[.]’” United States v. Irizarry, 341 F.3d 273,

 286 (3d Cir. 2003)(quoting United States v. Pelullo, 964 F.2d

 193, 211 (3d Cir. 1992)).

        Mark notes that the government alleged the existence of a

 hierarchy, with Mark as the leader.         He thus asserts that the

 jury instructions were deficient in failing to instruct the jury

 about the hierarchy structure of the Mark-Blyden enterprise.

 Mark argues that the Court’s failure to provide a specific

 structure instruction fostered confusion as between the Mark-

 Blyden enterprise, and a drug organization helmed by witness,

 James Springette.

       Springette testified that his organization was involved in

 “r[unning] drugs from Venezuela to the U.S. Virgin Islands on to

 North Carolina . . . .” (Trial Tr. at 8, May 5, 2010).                Mark

 argues that the jury instructions did not appropriately define

 the Mark-Blyden enterprise, and thus permitted the jury to

 convict Mark based on conduct that was done in furtherance of
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 the Springette organization.

         The Court first notes that the jury charge included a

 standard instruction with respect to the requirement that the

 enterprise possess a framework for its decisions:

              In order to find the existence of an “association
         in fact enterprise,” you must find that the government
         proved beyond a reasonable doubt each of the following:

              FIRST: That the group had a purpose and longevity
         sufficient for the members of the group to pursue its
         purpose
              SECOND: That the group had an ongoing
         organization, formal or informal, with some sort of
         framework for making or carrying out decisions;


 (Jury Charge at 16.)

         Springette offered testimony that Mark worked as a member

 of Springette’s Venezuela-United States drug operation.

 Specifically, he stated that “[e]ach department of the drug

 trafficking has different people who would run certain

 structures for the organization.           For instance, in Venezuela I

 had a group of people who – . . . I would have a group of people

 who would work under me, and they would assist me.                  In the

 Virgin Islands you would have another group of people who would

 work under, for instance, Kerwin6.” (Trial Tr. at 26, May 5,

 2010).      Though Springette’s testimony established that Mark had

 a role in Springette’s enterprise, the government’s evidence at

     6
         Gelean Mark is also known as Kerwin.
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 trial targeted the Mark-Blyden enterprise’s operations on St.

 Thomas and to a lesser extent in North Carolina.              The Court did

 not find that a lack of a specific instruction about the

 hierarchy of the Mark-Blyden enterprise confused the jury about

 its structure.

       b. Prejudicial Evidence of Springette Drug Organization

       Mark asserts that the allowance of testimony regarding the

 Springette organization was prejudicial.

       “All relevant evidence is admissible except as otherwise

 provided, except as otherwise provided by the Constitution of

 the United States, by Act of Congress, by these rules, or by

 other rules prescribed by the Supreme Court pursuant to

 statutory authority.” FED . R. EVID . 401.       In fulfilling its gate-

 keeping role the Court may exclude evidence “if its probative

 value is substantially outweighed by the danger of unfair

 prejudice, confusion of the issues, or misleading the jury, or

 by considerations of undue delay, waste of time, or needless

 presentation of cumulative evidence.” FED. R. EVID . 403.

       The government’s theory was that Mark’s membership in the

 Springette organization provided a gateway to securing the drugs

 he trafficked in the operation of the Mark-Blyden enterprise.

 Testimony about Springette’s organization and Mark’s involvement

 with Springette’s trafficking operations was relevant to proving
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 Mark’s independent trafficking activity as part of the Mark-

 Blyden enterprise.

       In United States v. DiSalvo, 34 F.3d 1204 (3d Cir. 1994), a

 defendant appealed his conviction for non-drug related RICO

 charges.    At trial, despite the defendant’s objection, the court

 permitted evidence about the relationship between the defendant

 and a drug dealer.      The Court noted that such testimony helped

 establish the defendant’s “knowing participation in and

 association with the RICO enterprise . . . essential elements of

 the RICO charges.” DiSalvo, 34 F.3d at 1220.             Though the evidence

 challenged here involves a separate criminal organization,

 evidence of the Springette operation was probative of the

 structure of Mark’s enterprise.         As such, the Court found no

 error with the admission of evidence about the Springette

 operation.

       c. Cockfighting

       Mark objects to the presentation of testimony about

 cockfighting at trial.        Cockfighting is legal under Virgin

 Islands law.     He notes that the government’s use of the term

 “gambling” in describing the acts of the enterprise may have

 confused the jury and caused the jury to believe that

 cockfighting represented racketeering activity.

       Mark’s argument is belied by the specific description of
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 racketeering act six as “for bet encouraging dogs to attack,

 bite, and wound other dogs.”        Mark failed to establish error in

 the Court’s admission of testimony about cockfighting.


       d. Dogfighting in the British Virgin Islands and North
       Carolina

       Mark also challenges the presentation of evidence about his

 participation at dogfights in the British Virgin Islands and

 North Carolina.

       During his testimony, Damien Daniels (“Daniels”), testified

 that he had attended a dog fight in the British Virgin Islands at

 which Mark’s dog was a competitor (Trial Tr. at 201, May 3,

 2010.).    The Court later decided to strike such testimony and

 issued the following instruction:

      [Y]ou may recall there was some discussion or some testimony
 received while Mr. Damien Daniel [sic] was testifying, and he
 referred to events taking place in the British Virgin Islands,
 specifically reference to a dogfight in the British Virgin
 islands.
      That reference to the dogfight occurring in the British
 Virgin Islands, you are instructed to disregard that. That is
 not to be part of your consideration.

 (Trial Tr. at 286, May 5, 2010.)

        The Court finds that any prejudice occasioned by Daniel’s

 reference to dogfighting in the British Virgin Islands was cured

 by the Court’s instruction.

        With respect to dogfighting in North Carolina, the Court
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 notes that “[e]vidence of uncharged crimes may be introduced even

 against a defendant without knowledge of such crimes, if the

 uncharged crimes are proof of some elements of the crimes

 actually charged against such defendant.” United States v.

 Eufrasio, 935 F.2d 553, 572 (3d Cir. 1991).            The evidence of

 Mark’s involvement with dogfighting for bet in North Carolina was

 probative of his knowledge and involvement with the dogfighting

 business of the Mark-Blyden enterprise in the United States

 Virgin Islands.     As such, the Court found no error with the

 admission of evidence of his dogfighting in North Carolina.

       e. Jury Instruction on Relatedness

       Mark argues that there was no jury instruction on the need

 for relatedness between the racketeering acts.             However, the jury

 charge clearly instructed the jury that in order to find that a

 defendant knowingly participated in the enterprise “through a

 pattern of racketeering activity,” the racketeering acts must

 have been related to each other:

         “THROUGH A PATTERN OF RACKETEERING ACTIVITY” DEFINED
            The fifth element that the government must prove
       beyond a reasonable doubt for the offense charged in
       Count One is that the defendant knowingly conducted the
       enterprise's affairs or knowingly participated,
       directly or indirectly, in the conduct of the
       enterprise's affairs "through a pattern of racketeering
       activity."
            To establish this element, the government must
       prove each of the following beyond a reasonable doubt:
            FIRST:    That the defendant committed at least
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                         two of the acts of racketeering activity
                         alleged and that the last act of
                         racketeering activity occurred within
                         ten years after the commission of a
                         previous act of racketeering activity;
             SECOND:     That the acts of racketeering activity
                         were related to each other, meaning that
                         there was a relationship between or
                         among the acts of racketeering activity;

                                    . . . .

            With respect to the second requirement, acts of
       racketeering activity are "related" if the acts had the
       same or similar purposes, results, participants,
       victims or methods of commission, or were otherwise
       interrelated by distinguishing characteristics. Acts of
       racketeering activity are not related if they are
       disconnected, sporadic, or widely separated and
       isolated acts.

 (Jury Charge at 22-23.)       The Court found that the instructions

 extensively discussed relatedness as a requirement.               Mark failed

 to direct the Court to any additional language that would have

 more clearly conveyed the relatedness concept to the jury.

       f. Racketeering Acts One and Three

       Mark asserts that the charged conspiracy to import and

 distribute cocaine, beginning from a time unknown, but no later

 than 1999, and continuing until October 2005, charged in act one,

 and the conspiracy, beginning from a time unknown, but no later

 than November 2004 and continuing until October 2005, to import

 cocaine, in act three “are virtually indistinguishable.” (Mark’s

 Mot. for New Trial 14.)
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       The Court of Appeals for the Third Circuit has adopted a

 “totality of the circumstances” test to evaluate whether charged

 conspiracies represent distinct offenses. United States v. Rigas,

 605 F.3d 194, 213 (3d Cir. 2010).         A court must look at several

 factors, including: (1) the existence of a common goal among

 conspirators; (2) whether the agreement intended a continuous

 outcome which would not have continued without the ongoing

 involvement of the conspirators; (3) the degree of overlap

 between those involved in various transactions; (4) the locus

 criminis of the conspiracies; (5) the temporal overlap between

 the conspiracies; (6) overlapping participants, accounting for

 both indicted and unindicted individuals; (7) the overt acts

 alleged; and (8) the similarity of the          defendant’s role in the

 alleged conspiracies. Id.

       At trial, the government presented proof as to two

 conspiracies to import cocaine.         One conspiracy was a conspiracy

 to import cocaine from South America into North Carolina.                The

 route was from South America to Tortola, Tortola to St. Thomas

 and St. Thomas to North Carolina.         A second conspiracy was a

 conspiracy to import drugs from South America to St. Thomas.                 The

 route used was from South America to Tortola and Tortola to St.

 Thomas.

       The testimony established Springette’s organization funneled
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 drugs from South America to Tortola.            In Tortola, Bob Hodge, an

 alleged co-conspirator would aid in the transport of drugs into

 St. Thomas.     A co-conspirator, Walter Ells would travel via

 speedboat, ferrying the drugs to Robert Joseph and Springette’s

 cousin, Elton Turnbull. Some of those drugs remained in St.

 Thomas for distribution on the island.           Intercepted phone calls

 were presented at trial of conversations involving Vernon Fagan

 and Allen Dinzey related to the distribution of drugs on St.

 Thomas.

       Some of the drugs were transported from the Virgin Islands

 to North Carolina.      Springette testified that Mark oversaw

 transporting drugs through the airport in St. Thomas to North

 Carolina.    There was testimony that Turnbull and Isaac received

 the drugs in North Carolina and oversaw their distribution there.

       The overlapping time frames and shared location of the

 Virgin Islands, and select overlapping participants suggest a

 similarity between the conspiracies.            Notwithstanding these

 shared features, the Court finds significant the distinct aims of

 the conspiracies: (1) importing cocaine into St. Thomas for

 distribution via a street-level operation; (2) importing cocaine

 for distribution into the continental United States.

       In a separate criminal proceeding, the Court of Appeals for

 the Third Circuit addressed a similar argument from Mark in
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 relation to an Indictment charging him for conspiracy to possess

 and distribute cocaine, cocaine base, and marijuana and a

 conspiracy to import cocaine and cocaine base (“Redball I”).                  He

 challenged on double jeopardy grounds, the subsequent prosecution

 of an alleged conspiracy to possess and distribute and conspiracy

 to import cocaine (“Redball II”).         This Court denied a motion by

 Mark to dismiss the Redball II indictment on double jeopardy

 grounds.

       He appealed that denial to the Third Circuit.               There, the

 Third Circuit found the different aims of the conspiracies

 significant:

       [T]he substantive objectives of the two conspiracies .
       . . [we]re distinct and reveal two agreements.
       Redball I alleged a conspiracy involving a street-level
       operation in St. Thomas distributing cocaine, crack
       cocaine, and marijuana, while Redball II alleged a
       conspiracy to import cocaine from the British Virgin
       Islands for subsequent distribution in the continental
       United States.

 United States v. Mark, 284 Fed. Appx. 946, 949 (3d Cir.

 2008)(unreported).      Here, the different objectives of the South

 America-St.Thomas and South America-North Carolina conspiracies

 similarly support a view of those conspiracies as distinct.

       g. Self-Defense Instruction

       Mark further challenges the manner in which the Court

 delivered his requested self-defense instruction.                 The Court read
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 the lion’s share of the jury charge prior to the parties’ closing

 arguments.    After a break, the Court gave a few other

 instructions, among them a self-defense instruction.               Mark notes

 that because the self-defense instruction was read without

 relation to a specific count, the jury may have been confused as

 to which counts the self-defense instruction was applicable.

       The Court found no prejudice with not explicitly linking the

 self-defense instruction to the assault count.             Moreover, the

 Court notes that an expansive approach to the self-defense

 instruction was arguably to Mark’s benefit, as the jury could

 have read it as applying to other counts charged.

       2. Blyden’s Rule 33 Motion

       a. Voir Dire Questions

       Blyden objects to the Court’s failure to voir dire the jury

 concerning their sentiments about firearms, drugs, and

 cockfighting.

       The Court questioned jurors about their ability to be fair

 and impartial and follow the Court’s instructions on the law.

 The Court found no error with its determination to forego

 Blyden’s voir dire questions.

       b. Requested Jury Instructions

       Blyden objects to the Court’s rejection of his proposed jury

 instructions as to: (1) paid informants, (2) immunized witnesses,
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 (3) co-conspirators, and (4) accomplice testimony.                A new trial

 is appropriate as a result of a Court’s failure to give a

 specific jury instruction “only when the requested instruction

 was correct, not substantially covered by the instructions given,

 and was so consequential that the refusal to give the instruction

 was prejudicial to the defendant.” United States v. Hoffecker,

 530 F.3d 137, 167 (3d Cir. 2008)(internal citations and

 quotations omitted).       The Court found that the instructions it

 delivered about adjudging the credibility of witnesses, including

 an instruction on weighing the credibility of cooperating

 witnesses cover many of the issues in Blyden’s requested

 instructions.     The Court thus found no error in its refusal to

 give the jury those instructions.

       c. Court Contact with Jury

       During polling of the jury, a juror responded both “Yes and

 no”   to the question asking whether the verdict represented his

 unanimous verdict.      Following that juror’s equivocation, the

 Court ordered the jurors to resume deliberation.

        Given that the polling revealed jury information to the

 public in a highly publicized trial, the Court found it to be a

 particularly important time to safeguard against improper contact

 between jurors and members of the public.           To minimize that

 possibility, the Court considered sequestering the jury.
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        To assess whether that option presented undue hardship,

 questionnaires were submitted to jurors to determine whether

 sequestration was feasible.        Blyden claims that the Court’s

 efforts amounted to improper contact with the jury, which he

 suggests resulted in some prejudice to his case.

       The Court in no way engaged in any communication about the

 merits of the case or any substantive discussion about their

 deliberations.     Rather, the communication was strictly limited to

 information regarding the Court’s assessment of the feasibility

 of sequestration.      The Court found no error with such

 communication in these circumstances.



                                IV. CONCLUSION

       For the foregoing reason, Mark’s motions for judgment of

 acquittal and a new trial were denied, as were Blyden’s motions

 for judgment of acquittal and a new trial.



                                           S\
                                                 CURTIS V. GÓMEZ
                                                   Chief Judge
